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                        EXHIBIT 74
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   j paris99@hotmail.com
   Of:                                       John Paris
   Sent to:                                  Friday June 7, 2024 08:22
                                             heidimparis@gmail.com
   Object:                                   RE: Request Visio conversation with Eva and Juliette



   Hello Heidi, I
   repeat the request that I have already sent to you several times via WhatsApp and e-mail.
   We haven't seen our granddaughters in over two months. It seems more than reasonable to me that grandparents would aspire to
   have an (unsupervised) vision conversation with their granddaughters. So I'm waiting for you to offer me at least two possible slots
   during the next weekend at a time acceptable to everyone.


   Jean and Katy


   By: Jean Paris
   Sent: Sunday June 2, 2024 9:00 a.m. To:
   heidimparis@gmail.com Subject:
   Request for Video conversation with Eva and Juliette


   Hello Heidi, we haven't seen our granddaughters for two months; Impossible to reach you by WhatsApp. We would like to be
   able to chai on video with Eva and Juliette, we miss talking to them and seeing them. That would suit us Saturday or Sunday morning (for
   you).
   Katy and Jean



   Jean Paris
   48 rue de la Sourde
   77700 MAGNY LE HONGRE

   Such. : 06 73 07 55 26
   jeao-pacis@laposte net




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j paris99@hotmail.com
De:                              Jean Paris
Envoye:                          vendredi 7 juin 2024 08:22
A:                               heidimparis@gmail.com
Objet:                           RE: Demande conversation Visio avec Eva et Juliette


Bonjour Heidi,
Je reitere la demande que je t'ai transmise deja a plusieurs reprises via WhatsApp et e-mail.
Nous n'avons pas vu nos petites-filles depuis plus de deux mois. IL me parait plus que raisonnable que des
grands-parents aspirent aavoir une conversation (non-supervisee) en vision avec leurs petites-filles. J'attends
done que tu me proposes au moins deux creneaux possibles du rant le prochain week-end aun horaire
acceptable pour chacun.
Jean et Katy


De : Jean Paris
Envoye : dimanche 2 juin 2024 09h00
A: heidimparis@gmail.com
Objet : Demande conversation Visio avec Eva et Juliette

Bonjour Heidi, nous n'avons pas vu nos petites-filles depuis deux mois; impossible de te joindre par
WhatsApp. Nous aimerions pouvoir echanger en video avec Eva et Juliette, cela nous manque de leur parler et
de Les voir. Qa nous conviendrait samedi ou dimanche matin (pourtoi).
Katy et Jean


Jean Paris
48 rue de la Sourde
77700 MAGNY LE HONGRE

Tel. : 06 73 07 55 26
jea n-paris@laposte.net




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